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11
                            UNITED STATES DISTRICT COURT
12
                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
13
     UNITED STATES OF AMERICA,               No. CR 20-579(A)-SVW
14
               Plaintiff,                   [PROPOSED] ORDER AMENDING PERSONAL
15                                          MONEY JUDGMENT
                    v.
16
     RICHARD AYVAZYAN,
17        Aka “Richard Ayazian” and
     “Iuliia Zhadko,” et al.
18
               Defendant.
19

20
          Plaintiff United States of America has moved to amend the in
21
     personam Money Judgment entered against defendant on October 27, 2021
22
     (ECF No. 1087), as amended on December 17, 2021 (ECF No. 1219), in
23
     order to forfeit substitute property pursuant to 21 U.S.C. § 853(p)
24
     and Federal Rule of Criminal Procedure 32.2(e).
25
          On June 25, 2021, defendant was convicted by jury of 23 felony
26
     counts, including conspiracy to commit wire fraud and bank fraud
27
     (Count 1), wire fraud (Counts 2-12), bank fraud (Counts 13-20),
28
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1    aggravated identity theft (Counts 21-22), and conspiracy to commit

2    money laundering (Count 26).

3         On October 27, 2021 this Court entered a money judgment of

4    forfeiture against defendant, ECF No. 1087 (the “Money Judgment”),

5    which was amended on December 17, 2021 (ECF No. 1219), requiring

6    defendant to forfeit to the United States the sum of $1,393,300 and

7    allowing the government to move at any time pursuant to Rule 32.2(e)

8    to amend the Order of Forfeiture to forfeit substitute property

9    having a value not to exceed 1,393,300 in order to satisfy the money
10   judgment in whole or part. Defendant has, to date, failed to satisfy
11   any portion of the Money Judgment.
12        The United States has now moved to have the following property
13   applied in partial satisfaction of the outstanding Money Judgment:
14        (a)   One 2015 Land Rover Range Rover bearing VIN:
15              SALGS3TF1FA203033;
16        (b)   One 2015 BMW M3 bearing VIN: WBS3R9C55FK335212; and
17        (c)   One 2017 Land Rover Range Rover bearing VIN:
18              SALGS2FE5HA320873 (the “Vehicles”).

19        The Court finds that the government has demonstrated that

20   defendant has an apparent interest in the Vehicles, and that the

21   liquidation value of the Vehicles, in an amount no less than

22   $112,318, should be applied toward satisfaction of the Money

23   Judgment, pursuant to 21 U.S.C. § 853(p) and Rule 32.2.

24        GOOD CAUSE HAVING BEEN SHOWN, IT IS HEREBY ORDERED THAT the

25   Money Judgment entered against defendant, is hereby amended to

26   forfeit defendant’s interest in the Vehicles to the United States.

27   The government shall forthwith commence a third party ancillary

28   proceeding with respect to the Vehicles, as described in 21 U.S.C.
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1    § 853(n). The United States shall provide notice of the third party

2    ancillary proceeding as required by law. If no timely third party

3    petitions are filed, this Order shall constitute the final order with

4    respect to the Vehicles, and the United States shall proceed to

5    dispose of the Vehicles according to law. To the extent the Vehicles

6    are found by this Court to be the property of some party other than

7    defendant, the government shall apply the remainder of the Vehicles

8    toward satisfaction of the Money Judgment.

9           This Court shall retain jurisdiction over both the ancillary
10   proceeding and any future requests by the government relating to
11   additional property of defendant that may be identified and sought to
12   be applied toward full satisfaction of the judgment.
13          IT IS SO ORDERED.
14

15
     DATE                                  HONORABLE STEPHEN V. WILSON
16                                         UNITED STATES DISTRICT JUDGE
17

18   Presented by:
19        /s/
     DAN G. BOYLE
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     Assistant United States Attorney
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